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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                 CASE NO. 23-80-1010-CR-CANNON


        UNITED STATES OF AMERICA,

                            v.

        DONALD J. TRUMP,
        WALTINE NAUTA, and
        CARLOS DE OLIVIERA,

                            Defendants.
                                                        /

                                       [PROPOSED] ORDER

           Upon consideration of the Defendants’ Motion for Leave to Disclose Discovery, it is this

   ___ day of ____________, 2024, hereby:

           ORDERED that the Motion is GRANTED, and it is further

           ORDERED that a Non-Evidentiary Hearing on the Motions identified in the Court’s

   April 8, 2024, Notice (ECF No. 434) shall be held on April ___, 2024.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this ____ day April, 2024.

    .
                                                       The Honorable Aileen M. Cannon
                                                       United States District Court Judge
